Plaintiffs, children and widow of Charles Simon, deceased, sued the Cadillac Motor Car Company to recover damages alleged to have been suffered because of the failure of the defendant to pay proper compensation under the Michigan workmen's compensation law for the death of said Charles Simon. The declaration alleges that both said Charles Simon and defendant were, at the time of his employment, and at the time of his injuries, subject to the provisions of Act No. 10, Pub. Acts, First Extra Session 1912 (2 Comp. Laws 1915, § 5423 et seq.), and amendments thereto.
Both employer and employee being subject to the workmen's compensation law, their rights and liabilities are governed thereby. This suit cannot be maintained. Section 5426, 2 Comp. Laws 1915; Varga v. Detroit Edison Co., 240 Mich. 593.
Judgment is affirmed, with costs.
FEAD, C.J., and NORTH, FELLOWS, WIEST, CLARK, McDONALD, and SHARPE, JJ., concurred. *Page 95 